              Case 6:19-bk-00609-CCJ          Doc 13     Filed 04/09/19     Page 1 of 3



                                         ORDERED.

         Dated: April 09, 2019




                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

In re:                                             Case No. 19-00609
                                                   Chapter 7
 Martalecia M Vargas


         Debtor         /

  ORDER AUTHORIZING THE TRUSTEE TO RETAIN BK GLOBAL REAL ESTATE
    SERVICES TO PROCURE CONSENTED SALE PURSUANT TO 11 U.S.C. §327

          Upon the Notice and Application of Arvind Mahendru, the trustee in the above-captioned

 case (“Trustee”), to Retain BK Global Real Estate Services (“BKRES”) to Procure Consented

 Public Sale pursuant to 11 U.S.C. § 327, 328 and 330 (“Application”) [DE# 12], the Court

 having reviewed and considered the Application and the Affidavit of Disinterestedness and

 having found good and sufficient cause appearing therefore and the same to be in the best

 interest of Debtor and the creditors the Court hereby FINDS that:

              A. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157(b)(2).

              B. Venue of this Chapter 7 case and the Application is proper pursuant to 28 U.S.C.

          §§ 1408 and 1409.

              C. Notice of the Application was sufficient under the circumstances.

                  Based upon the foregoing findings of fact, it is hereby
            Case 6:19-bk-00609-CCJ         Doc 13     Filed 04/09/19     Page 2 of 3



       ORDERED, ADJUDGED, AND DECREED that:

       1.      The Application is hereby GRANTED.

       2.      Defined terms not otherwise defined herein have the meanings given to them in

the Application and the Affidavit.

       3.      The Trustee is authorized to retain and compensate BKRES to procure Secured

Creditor’s Consent, and otherwise market and sell the Property, in Debtor’s Chapter 7 case

pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code, and Bankruptcy Rules 2014

and 2016, in accordance with the terms and conditions set forth in the BKRES Agreement, the

Listing Agreement and this Order.

       4.      BKRES is disinterested persons within the meaning of Bankruptcy Code Section

101(14).

       5.      BKRES shall be compensated in accordance with the BKRES Agreement and

Listing Agreement, respectively, and such compensation shall not hereafter be subject to

challenge except under the standard of review set forth in Section 330 of the Bankruptcy Code.

       6.      BKRES shall be authorized to receive and retain their fees from Secured Creditor

at the successful closing of the sale of the Property without necessity of further order of the

Court. The estate shall, in no circumstance, be obligated to compensate BKRES in such event

and BKRES shall not have a claim against the estate for any unpaid amounts. BKRES, and

anyone claiming by, through or under either of them, shall only have recourse for recovering its

fee from Secured Creditor. The estate shall have no liability for any such claim.

       7.      Notice of the Application was adequate and proper.
            Case 6:19-bk-00609-CCJ          Doc 13    Filed 04/09/19     Page 3 of 3



       8.      This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation of this Order.


Trustee Arvind Mahendru is directed to serve a copy of this order on interested parties and file a
proof of service within 3 days of entry of the order.
